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6    Attorney for Defendant
     CRYSTAL RUSSO
7
8
                              IN THE UNITED STATES DISTRICT COURT
9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12
13   UNITED STATES OF AMERICA,                   )   Case No. 2:11-CR-0198 MCE
                                                 )
14                            Plaintiff,         )
                                                 )   STIPULATION AND ORDER
15                vs.                            )   CONTINUING STATUS CONFERENCE
                                                 )   AND EXCLUDING TIME
16   CRYSTAL RUSSO,                              )
                                                 )
17                            Defendant.         )   Date: December 12, 2013
                                                 )   Time: 9:00 a.m.
18                                               )   Judge: Hon. Morrison C. England
19
20          It is hereby stipulated and agreed between defendant, Crystal Russo, and plaintiff, United
21   States of America, that the status conference scheduled for December 12, 2013, may be
22   rescheduled for January 30, 2014, at 9:00 a.m. and time under the Speedy Trial Act excluded as
23   set forth below.
24          The defense has provided to the assigned Assistant U.S. attorney information about
25   discussions with prior counsel. Additional discovery promised by prior government counsel has
26   not yet been provided but the parties’ discussions may obviate the need for additional discovery.
27   The parties expect to meet again before the rescheduled status conference. The parties therefore
28   agree that the ends of justice served by this continuance outweigh the best interests of the public

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1    and the defendant in a speedy trial and ask that time under the Speedy Trial Act should be
2    excluded through January 30, 2014, pursuant to 18 U.S.C. § 3161(h)(1)(g) and (h)(7)(a) and
3    (b)(IV)..
4                                                 Respectfully Submitted,
5                                                 HEATHER E. WILLIAMS
                                                  Federal Defender
6
7    Dated: December 9, 2013                      /s/ T. Zindel__________________
                                                  TIMOTHY ZINDEL
8                                                 Assistant Federal Defender
                                                  Attorney for CRYSTAL RUSSO
9
10                                                BENJAMIN WAGNER
                                                  United States Attorney
11
12   Dated: December 9, 2013                      /s/ T. Zindel for J. Hitt     ____
                                                  JASON HITT
13                                                Assistant U.S. Attorney
14
15                                               ORDER
16          The status conference is continued to January 30, 2014, at 9:00 a.m. The court finds that
17   a continuance is necessary for the reasons stated above and that the ends of justice served by
18   granting a continuance outweigh the best interests of the public and the defendant in a speedy
19   trial. Time is therefore excluded from the date of this order through January 30, 2014, pursuant
20   to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv).
21          IT IS SO ORDERED.
22   Dated: December 12, 2013
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